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                   DOD INSTRUCTION 6130.03, VOLUME 2
   MEDICAL STANDARDS FOR MILITARY SERVICE: RETENTION

Originating Component:        Office of the Under Secretary of Defense for Personnel and Readiness

Effective:                    September 4, 2020
Change 1 Effective            June 6, 2022

Releasability:                Cleared for public release. Available on the Directives Division Website
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Approved by:                  Matthew P. Donovan, Under Secretary of Defense for Personnel and
                              Readiness
Change 1 Approved by:         Lloyd J. Austin III, Secretary of Defense


Purpose: This instruction is composed of two volumes, each containing its own purpose. In
accordance with the authority in DoD Directive 5124.02:
• This instruction establishes policy, assigns responsibilities, and prescribes procedures for medical
standards for the Military Services.
• This volume establishes medical retention standards and the Retention Medical Standards Working
Group (RMSWG), under the Medical and Personnel Executive Steering Committee (MEDPERS), to
provide policy recommendations related to this instruction.
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               SECTION 1: GENERAL ISSUANCE INFORMATION

1.1. APPLICABILITY.

    a. This volume applies to OSD, the Military Departments (including the Coast Guard at all
times, including when it is a Service in the Department of Homeland Security by agreement with
that Department), the Office of the Chairman of the Joint Chiefs of Staff and the Joint Staff, the
Combatant Commands, the Office of the Inspector General of the Department of Defense, the
Defense Agencies, the DoD Field Activities, and all other organizational entities within the DoD
(referred to collectively in this volume as the “DoD Components”).

   b. Gender dysphoria-related standards in this volume do not apply to Service members
considered exempt pursuant to DoDI 1300.28.


1.2. POLICY.

It is DoD policy that:

    a. Service members meet DoD medical standards established in this volume to be retained in
the Military Services.

   b. Service members who are unable to successfully complete their assigned duties while
deployed, stationed with only operational healthcare unit support, or while in garrison
conditions, be referred to:

      (1) The Disability Evaluation System (DES), on a case-by-case basis, in accordance with
DoD Instruction (DoDI) 1332.18 and DoDI 1332.45; or

       (2) For conditions not constituting a disability, the responsible Military Department for
possible administrative action, in accordance with DoDI 1332.14 or DoDI 1332.30.

   c. DoD medical standards for military retention are consistent with:

       (1) The criteria for DES referral, in accordance with DoDI 1332.18 and other military
requirements, as further defined in Paragraph 3.2 of this volume.

       (2) Deployment requirements, as defined in DoDI 6490.07, and a broader definition of
deployability, as defined in DoDI 1332.18.

       (3) Retention determinations for certain non-deployable Service members in accordance
with DoDI 1332.45.

        (4) Military Health System (MHS) efforts to improve performance, economy, and
efficiency.




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    d. Additional, more selective medical standards for military retention may be established by
the Secretaries of the Military Departments based on the Service member’s office, grade, rank, or
rating, as long as such standards are objectively applied and are not inconsistent with applicable
laws or DoD policies.


1.3. SUMMARY OF CHANGE 1.

In accordance with the June 6, 2022 Secretary of Defense memorandum, the changes to this
issuance update DoD policy with respect to individuals who have been identified as HIV-
positive. Individuals who have been identified as HIV-positive, are asymptomatic, and who have
a clinically confirmed undetectable viral load will have no restrictions applied to their
deployability or to their ability to commission while a Service member solely on the basis of
their HIV-positive status. Nor will such individuals be discharged or separated solely on the
basis of their HIV-positive status.




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                           SECTION 2: RESPONSIBILITIES

2.1. UNDER SECRETARY OF DEFENSE FOR PERSONNEL AND READINESS
(USD(P&R)).

The USD(P&R):

  a. Eliminates inconsistencies and inequities based on race, sex, or duty location in DoD
Component application of these standards.

    b. Maintains and convenes the chartered MEDPERS, in accordance with Volume 1 of this
instruction.


2.2. ASSISTANT SECRETARY OF DEFENSE FOR HEALTH AFFAIRS (ASD(HA)).

Under the authority, direction, and control of the USD(P&R), the ASD(HA):

  a. Reviews, approves, and issues technical modifications to the standards in Section 5 to the
DoD Components.

   b. Reviews implementation of medical standards for military retention throughout the MHS
and provides guidance to the Director, Defense Health Agency (DHA) and the Secretaries of the
Military Departments.


2.3. DEPUTY ASSISTANT SECRETARY OF DEFENSE FOR HEALTH SERVICES
POLICY AND OVERSIGHT (DASD(HSP&O)).

Under the authority, direction, and control of the ASD(HA), the DASD(HSP&O):

    a. Reviews the standards in Section 5, associated Service-specific regulations, and Service-
specific medical standards for retention, in terms of performance, economy, and efficiency
throughout the MHS, and provides appropriate policy recommendations to the ASD(HA).

   b. Coordinates revisions to policies related to this volume with relevant DoD Components.

   c. Selects a co-chair for the RMSWG and requires records of the RMSWG be maintained
and retained, in accordance with all legal requirements.


2.4. DEPUTY ASSISTANT SECRETARY OF DEFENSE FOR MILITARY
PERSONNEL POLICY (DASD(MPP)).

Under the authority, direction, and control of the ASD(M&RA), the DASD(MPP):

   a. Coordinates revisions to policies related to this volume with relevant DoD Components.



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   b. Selects a co-chair for the RMSWG.


2.5. DIRECTOR, DHA.

Under the authority, direction, and control of the USD(P&R), through the ASD(HA), the
Director, DHA:

   a. Publishes DHA procedural instructions necessary to implement this volume.

   b. Uses the planning, programing, budgeting, and execution process to allocate resources
necessary for the evaluation of medical conditions, in accordance with this volume and Service-
specific medical standards for military retention.

   c. Supports MHS efforts to monitor and improve medical standards for military retention.

   d. Selects a representative for the RMSWG.


2.6. SECRETARIES OF THE MILITARY DEPARTMENTS AND COMMANDANT,
UNITED STATES COAST GUARD (USCG).

The Secretaries of the Military Departments and the Commandant, USCG:

   a. Provide guidance necessary to implement this volume and Service-specific retention
medical standards, as required, to refer Service members to the:

       (1) DES, in accordance with DoDI 1332.18, DoDI 1332.45, and this volume; or

        (2) For members of the USCG, the USCG Physical DES, pursuant to the Commandant
Instruction M1850.2 series.

   b. Select a representative for the RMSWG.




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       SECTION 3: PROCEDURES FOR APPLYING MEDICAL STANDARDS

3.1. APPLICABILITY OF RETENTION MEDICAL STANDARDS.

The medical standards in Section 5 apply to:

       a. All current Service members, including those:

      (1) Accessed with a medical waiver in accordance with Volume 1 of this instruction and
DoDI 1332.18.

       (2) Previously found fit by the DES, in accordance with DoDI 1332.18, when the
condition progresses and has become potentially unfitting.

    b. Former Service members being medically evaluated for return to military service when
the applicability criteria in Paragraph 4.1 of Volume 1 of this instruction does not apply.


3.2. APPLICATION OF CRITERIA USED TO DEVELOP STANDARDS.

The standards in Section 5 will be applied on a case-by-case basis considering the following
criteria:

   a. The affected Service member’s ability to safely complete common military tasks at a
general duty level. Tasks may include, but are not limited to:

          (1) Climbing and going down structures such as stairs, a ladder, ladderwells, or a cargo
net.

          (2) Wearing personal protective gear.

          (3) Running 100 yards.

          (4) Standing in formation.

          (5) Carrying personal equipment.

          (6) Operating a vehicle.

       (7) Operating an assigned weapons system, to include safe operation of an individual
firearm.

          (8) Subsisting on field rations.

          (9) Working in extreme environments or confined spaces.

          (10) Operating for extended work periods.



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       (11) Communicating effectively.

   b. Limitations or requirements due to medical condition(s) or objections to recommended
medical interventions that:

        (1) Impose unreasonable medical requirements on the Military Services to maintain or
protect the Service member.

        (2) Require diagnostic(s), treatment(s), or surveillance for longer than 12 months that is
not anticipated to be routinely available in operational locations, unless approved by the Service
member’s unit commander in accordance with DoDI 1332.45.

        (3) Present an obvious risk to the health or safety of the member, other Service members,
or other personnel serving with or accompanying an armed force in the field.

        (4) Are of such a nature or duration that progressive worsening or effects of external
stressors are reasonably expected to result in a grave medical outcome or an unacceptable
negative impact on mission execution.

      (5) Are incompatible with the physical and psychological demands required for
deployment and the Service member’s office, grade, rank, or rating.


3.3. IMPLEMENTATION.

   a. The Military Department(s) concerned will:

       (1) Apply the standards in Section 5 on a case-by-case basis.

        (2) Consider which criteria in Paragraph 3.2. apply to the Service member’s office,
grade, rank, or rating.

       (3) Determine if the Service member should be referred to the DES.

        (4) Perform these evaluations in accordance with Service-specific regulations before or
during the medical evaluation board component of the DES process.

    b. Service members will be referred to the DES in accordance with DoDI 1332.18. The
standards listed in Section 5 do not include all of the conditions that may be referred to the DES
or that are compensable in accordance with Part 4 of Title 38, Code of Federal Regulations also
known as “the Department of Veterans Affairs Schedule for Rating Disabilities (VASRD)”. In
the event of conflicting guidance or lack of a defined standard in this volume, DoDI 1332.18 will
take precedence.

   c. Military Departments may authorize administrative separation processing of Service
members with medical conditions and circumstances not constituting a physical disability, in
accordance with DoDI 1332.14 or DoDI 1332.30, that interfere with assignment or performance




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of duty, if the Service member is ineligible for referral to the DES, pursuant to DoDI 1332.18, or
the USCG Physical DES, pursuant to the Commandant Instruction M1850.2 series.

   d. Military Department regulations regarding presumption of fitness are considered by
medical and administrative personnel when applying the standards in Section 5.

    e. Medical diagnoses and duty limitations will be made in conjunction with referrals or
information provided by the appropriate medical specialty, in accordance with this volume and
Military Service-specific regulations.

    f. Military Departments will coordinate requirements for clinical evaluations, information
technology, and access to medical records with the Director, DHA.

    g. If a Service member fails to consent to medically appropriate treatment for a potentially
disqualifying condition, the condition is considered refractory to treatment and may result in the
Service member not being eligible for retention. The Military Department concerned will take
appropriate administrative action in accordance with Military Department-specific policies.




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                   SECTION 4: ACTIVITIES OF THE RMSWG

4.1. PURPOSE OF THE RMSWG.

The RMSWG—a chartered working group under the MEDPERS—convenes at least twice a
year, under the joint guidance of the DASD(HSP&O) and the DASD(MPP), to review and
develop policy relevant to this volume.


4.2. OVERALL GOALS OF THE RMSWG.

The RMSWG will:

   a. Review and develop proposed changes to this volume in accordance with DoDI 5025.01.

   b. Draft DoD medical standards for military retention based on DoD mission requirements,
available scientific evidence, and expert opinion.

   c. Evaluate DoD Component implementation of the standards in Section 5 of this volume.

   d. Respond to requests from the MEDPERS.

   e. Periodically reassess the goals of the RMSWG.


4.3. CO-CHAIRS OF THE RMSWG.

The DASD(HSP&O) and the DASD(MPP) will each select one representative to co-chair the
RMSWG. The RMSWG co-chairs will:

   a. Draft the RMSWG charter for MEDPERS approval.

   b. Record and retain meeting minutes and other committee records.

   c. Schedule meetings as required.


4.4. MEMBERSHIP OF THE RMSWG.

The RMSWG membership will include medical and personnel representatives from:

   a. Each Military Service.

   b. The Joint Staff.

   c. Other organizations as required in accordance with the RMSWG charter.




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                    SECTION 5: DISQUALIFYING CONDITIONS

5.1. GENERAL.

The medical standards for military retention are classified into general systems in this section.
Unless otherwise stipulated, these are the conditions that do not meet the retention standard.
These conditions must persist despite appropriate treatment and impair function to preclude
satisfactory performance of required military duties of the Service member’s office, grade, rank,
or rating.


5.2. HEAD.

Defects of the skull, face, or mandible to a degree that prevents the member from properly
wearing required protective equipment (e.g., military headgear) are not compatible with
retention. The condition must persist despite appropriate treatment and impair function so as to
preclude satisfactory performance of required military duties of the Service member’s office,
grade, rank, or rating.


5.3. EYES.

   a. When considering the conditions listed in this paragraph, the condition must persist
despite appropriate treatment and impair function to preclude satisfactory performance of
required military duties of the Service member’s office, grade, rank, or rating.

     b. Any chronic disease process or condition of the eye, lids, or visual system that is resistant
to treatment and does not meet the vision standards in Paragraph 5.4.

    c. Corneal degeneration, when contact lenses or other special corrective devices (e.g.,
telescopic lenses, electronic magnifiers) are required to prevent progression or to meet the
standards in Paragraph 5.4.

    d. Aphakia, bilateral if not a surgical candidate. This condition is not compatible with
retention and the Service should initiate appropriate medical and personnel actions upon
diagnosis. Paragraph 5.3.a does not apply.

    e. Binocular diplopia, not correctable by surgery, that is severe, constant, and in a zone less
than 20 degrees from the primary position.

    f. Bilateral concentric constriction to less than 40 degrees interfering with the ability to
safely perform duty.

    g. Absence of an eye or enucleation. This condition is not compatible with retention and the
Services should initiate appropriate medical and personnel actions upon diagnosis. Paragraph
5.3.a. does not apply.



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    h. Night blindness requiring assistance to travel at night or resulting in duty limitations due
to an inability to perform night missions.

   i. Any chronic eye diseases requiring treatment with systemic immunosuppressant
medication.


5.4. VISION.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating. Vision standards must be
met with the unaided eye or clear glasses without specialized optical aids including, but not
limited to, telescopic, magnifying, or tinted lenses (excluding sunglasses for routine wear).
Color vision standards will be set by the individual DoD Components.

   a. With both eyes open, best corrected for both distant and near vision of at least 20/40.

   b. Any condition that specifically requires contact lenses for correction of vision.

   c. Anisometropia worse than 3.5 diopters (spherical equivalent difference).

   d. Any scotoma large enough to impair duty performance including, but not limited to,
permanent hemianopsia.


5.5. EARS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating.

   a. Persistent defect that prevents the proper wearing of required military equipment (e.g.,
hearing protection).

    b. Ménière’s disease and other disorders of balance or sensorium with frequent and severe
attacks that interfere with satisfactory performance of duty.

    c. Any conditions of the ear that persist despite appropriate treatment and necessitate
frequent and prolonged medical care or hospitalization (e.g., cholesteatoma, chronic otitis
infections, and associated secondary changes).


5.6. HEARING.

Hearing loss that prohibits safe performance of duty, with or without hearing aids or other
assistive devices is not compatible with retention. The condition must persist despite appropriate
treatment and impair function to preclude satisfactory performance of required military duties of
the Service member’s office, grade, rank, or rating.


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5.7. NOSE, SINUSES, MOUTH, AND LARYNX.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating.

    a. Vocal cord dysfunction characterized by bilateral vocal cord paralysis or dysfunction
significant enough to interfere with speech or cause respiratory compromise upon exertion.

   b. Any persistent condition of the sinuses or nasal cavity that requires ongoing medical care
beyond operationally available maintenance medications to maintain sinonasal function.

    c. Conditions or defects of the mouth, tongue, palate, throat, pharynx, larynx, and nose that
interfere with chewing, swallowing, speech, or breathing.


5.8. DENTAL.

Diseases and abnormalities of the jaw or associated tissues that prevent normal mastication,
speech, or proper wear of required protective equipment are not compatible with retention. The
condition must persist despite appropriate treatment and impair function to preclude satisfactory
performance of required military duties of the Service member’s office, grade, rank, or rating.


5.9. NECK.

Limited range of motion of the neck that impairs normal function is not compatible with
retention. The condition must persist despite appropriate treatment and impair function to
preclude satisfactory performance of required military duties of the Service member’s office,
grade, rank, or rating.


5.10. LUNGS, CHEST WALL, PLEURA, AND MEDIASTINUM.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating. Conditions in this
paragraph do not meet the standards if the Service member cannot meet Service-specific
pulmonary functional assessment (e.g., trial of duty or established standard) or if medical
clearance cannot be given for safe participation in Service-specific physical fitness testing.

   a. Asthma or airway hyper responsiveness with:

       (1) Persistent symptoms;

        (2) Forced expiratory volume in one second (FEV1) persistently below 70 percent
despite treatment with inhaled corticosteroids; or




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      (3) More than once required oral steroid or emergent asthma treatment in the previous 12
months.

   b. Chronic obstructive pulmonary disease with:

       (1) Persistent symptoms;

       (2) FEV1 between 50 percent and 79 percent of predicted FEV1 that cannot pass
Service-determined functional assessments;

        (3) FEV1 of less than 50 percent of predicted FEV1, despite treatment with inhaled
corticosteroids; or

       (4) More than one required hospitalization in the previous 12 months.

   c. Bronchiectasis, if severe or symptomatic.

    d. Thoracic cavity malformation or dysfunction, including pectus excavatum, pectus
carinatum, or diaphragmagtic defect, if it is symptomatic or interferes with the wearing of
military equipment or the performance of military duty.

   e. Chronic or recurrent pulmonary disease or symptoms including, but not limited to:

       (1) Pulmonary fibrosis;

       (2) Emphysema;

       (3) Interstitial lung disease;

       (4) Pulmonary sarcoidosis;

       (5) Pleurisy; or

       (6) Residuals of surgery that prevent satisfactory performance of duty.

    f. Recurrent spontaneous pneumothorax, when the underlying defect is not correctable by
surgery.

    g. Tuberculosis, pulmonary or extra pulmonary, with clinically significant sequelae
following treatment, if resistant to treatment or if the condition is of such severity that the
individual is not expected to return to full duty despite appropriate treatment.

    h. Pulmonary embolism, recurrent or a single episode, if anticoagulation medications, other
than aspirin, are clinically indicated for longer than 12 months.

   i. Cystic fibrosis.

   j. Any condition for which chronic use of supplemental oxygen is indicated.



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5.11. HEART.

    a. When considering the conditions listed in this paragraph, the condition must persist
despite appropriate treatment and impair function to preclude satisfactory performance of
required military duties of the Service member’s office, grade, rank, or rating. Conditions in this
paragraph do not meet the standards if the Service member cannot meet Service-specific cardiac
functional assessment (e.g., a Service-defined trial of duty period) or if medical clearance cannot
be given for safe participation in Service-specific physical fitness testing due to risk of disease
progression or adverse cardiac event.

   b. Heart valve disease; including:

        (1) Any valve replacement. This condition is not compatible with retention and the
Service should initiate appropriate medical and personnel actions after post-operative recovery
(or a period of Limited Duty). Paragraph 5.11.a does not apply.

        (2) Moderate or worse valvular insufficiency or regurgitation if a cardiologist determines
that the Service member has physical activity or duty restrictions to reduce the risk of disease
progression or an adverse cardiac event.

       (3) Mild or worse valvular stenosis if a cardiologist determines the Service member has
physical activity or duty restrictions to reduce the risk of disease progression or adverse cardiac
event.

   c. Cardiomyopathy or heart failure; including:

       (1) Persistent cardiomyopathy or heart failure related to a potentially reversible condition
when a cardiologist determines that the underlying etiology is uncorrectable.

       (2) Cardiomyopathy or heart failure, upon diagnosis, when secondary to an underlying
permanent condition including, but not limited to: hypertrophic cardiomyopathy, amyloidosis,
sarcoidosis, ventricular non-compaction syndrome, and arrhythmogenic right ventricular
cardiomyopathy. This condition is not compatible with retention and the Service should initiate
appropriate medical and personnel actions upon diagnosis. Paragraph 5.11.a does not apply.

   d. Clinical indication or presence of pacemaker or implantable cardioverter-defibrillator.
This condition is not compatible with retention and the Service should initiate appropriate
medical and personnel actions upon diagnosis. Paragraph 5.11.a does not apply.

    e. Atrial and ventricular arrhythmias, other than isolated Premature Ventricular Contractions
and Premature Atrial Contractions, unless successfully ablated (if indicated) and cleared by a
cardiologist for unrestricted exercise.

   f. Channelopathies reliably diagnosed by a cardiologist that predisposes to sudden cardiac
death and syncope including, but not limited to:

       (1) Brugada pattern;



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       (2) Acquired or Congenital Long QT syndrome; or

        (3) Catecholiminergic Polymorphic Ventricular Tachycardia. This condition is not
compatible with retention and the Service should initiate appropriate medical and personnel
actions upon diagnosis. Paragraph 5.11.a does not apply.

    g. Pre-excitation pattern (e.g., Wolff-Parkinson-White pattern) unless it is asymptomatic and
associated with low-risk accessory pathway by appropriate diagnostic testing, or successfully
treated with ablation.

    h. Conduction disorders associated with potentially fatal or severely symptomatic events
including, but not limited to:

       (1) Disorders of sinus arrest;

       (2) Asystole;

       (3) Mobitz type II second-degree atrioventricular block;

       (4) Third-degree atrioventricular block; or

        (5) Sudden cardiac death unless associated with recognizable temporary precipitating
conditions (e.g., perioperative period, hypoxia, electrolyte disturbance, drug toxicity, infection,
or acute illness). This condition is not compatible with retention and the Service should initiate
appropriate medical and personnel actions upon diagnosis. Paragraph 5.11.a does not apply.

   i. Coronary artery disease; including:

      (1) Acute Coronary Syndrome (ST-elevation myocardial infarction or Non-ST elevation
myocardial infarction):

           (a) That required intervention including, but not limited to:

               1. Percutaneous coronary intervention;

               2. Coronary artery bypass grafting; or

               3. Thrombolytic medication.

           (b) For which anti-platelet therapy, other than aspirin, occurs for longer than 12
months.

     (2) Stable coronary disease, unless there is no evidence of ischemia and the Service
member can achieve 10 metabolic equivalents while on optimal medical therapy.

   j. Chronic pericardial disease, reliably diagnosed by a cardiologist.




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    k. Complex congenital heart disease including, but not limited to: tetrology of Fallot,
coarctation of the aorta, and Ebstein’s anomaly, unless successfully treated by surgical or
percutaneous correction.

    l. Symptomatic or hemodynamically significant anatomic intracardiac shunts including, but
not limited to: patent foramen ovale, atrial septal defect, and ventricular septal defect, if
persistent despite surgical or percutaneous correction (as indicated).

    m. Recurrent syncope or near syncope (including postural orthostatic tachycardia syndrome)
that interferes with duty, if no treatable cause is identified or it persists despite conservative
therapy.

   n. Rheumatic heart disease, if sequelae present.

   o. History of spontaneous coronary artery dissection.

   p. Surgery of the heart or pericardium with persistent duty limitations.


5.12. ABDOMINAL ORGANS AND GASTROINTESTINAL SYSTEM.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating. Conditions in this paragraph do not
meet retention standards if associated with the inability to maintain normal weight or nutrition,
require repeated procedures or surgery, or if the condition requires immunomodulating or
immunosuppressant medications.

    a. Esophageal stricture, including manifestations of eosinophilic esophagitis, that requires a
restricted diet or frequent dilatation.

   b. Persistent esophageal disease (e.g., dysmotility disorders, achalasia, esophagitis,
esophageal spasm) that is severe, or results in dysphagia.

   c. Gastritis, if severe, with recurring symptoms not relieved by medication, surgery, or
endoscopic intervention.

   d. Non-ulcerative or functional dyspepsia not controlled by medications.

    e. Recurrent gastric or duodenal ulcer, with or without obstruction or perforation confirmed
by laboratory, imaging, or endoscopy.

   f. Inflammatory bowel disease including, but not limited to:

       (1) Crohn’s disease;

       (2) Ulcerative colitis;

       (3) Ulcerative proctitis;


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       (4) Regional enteritis;

       (5) Granulomatous enteritis;

       (6) Chronic or recurrent indeterminate colitis; or

      (7) Microscopic colitis that requires treatment with immune modulator or biologic
medications.

    g. Chronic proctitis with moderate to severe symptoms of bleeding, painful defecation,
tenesmus, or diarrhea.

   h. Malabsorption syndromes including those related to:

       (1) Celiac sprue;

       (2) Pancreatic insufficiency; or

       (3) Sequelae of surgery including, but not limited to:

           (a) Bariatric surgery;

           (b) Colectomy; or

           (c) Gastrectomy.

   i. Functional gastrointestinal disorders, including but not limited to irritable bowel
syndrome.

   j. Familial adenomatous polyposis syndrome (e.g., classic or attenuated) or hereditary non-
polyposis colon cancer (i.e., Lynch syndrome).

   k. Chronic hepatitis with impairment of liver function.

    l. Cirrhosis of the liver, portal hypertension, esophageal varices, esophageal bleeding, or
other complications of chronic liver disease, resulting from conditions including, but not limited
to:

       (1) Hemochromatosis.

       (2) Alpha-1 anti-trypsin deficiency.

       (3) Wilson’s disease.

       (4) Alcoholic and non-alcoholic fatty liver disease.

    m. Chronic gallbladder disease or biliary dyskinesia with frequent abdominal pain or
recurrent jaundice.



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    n. Chronic liver disease because of trauma or infection, to include amoebic abscess or liver
transplant recipient(s).

   o. Chronic or recurrent pancreatitis.

   p. Pancreatectomy or pancreas (whole organ or islet cell) transplant recipient(s).

    q. Pancreaticduodenostomy, pancreaticgastrostomy, or pancreaticojejunostomy, with chronic
digestive system dysfunction.

    r. Acquired fecal incontinence or obstruction characterized by intractable constipation or
pain on defecation.

   s. Severe symptomatic hernia, including abdominal wall or hiatal.

   t. Total colectomy or any partial colectomy with residual limitations.

    u. Total gastrectomy, or any partial gastroectomy or gastrojejunostomy with residual
limitations.

   v. Colostomy, jejunostomy, ileostomy, or gastrostomy, if permanent.


5.13. FEMALE GENITAL SYSTEM.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating.

    a. Genital trauma or abnormalities that result in urinary incontinence or the need for
catheterization.

   b. Chronic pelvic pain, with or without an identifiable diagnosis, such as dysmenorrhea,
endometriosis, or ovarian cysts.

   c. Premenstrual dysphoric disorder.

   d. Abnormal uterine bleeding resulting in anemia.

   e. Chronic breast pain, so as to prevent satisfactory wearing of military equipment.


5.14. MALE GENITAL SYSTEM.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating.

   a. Absence of both testicles with medically required injectable hormone therapy.


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   b. Epispadias or hypospadias when accompanied by persistent urinary complications.

   c. Chronic pelvic pain, with or without an identifiable diagnosis, to include chronic
prostatitis, epididymitis, scrotal pain, or orchitis.

    d. Genital trauma or abnormalities that result in urinary incontinence or the need for
catheterization.


5.15. URINARY SYSTEM.

   a. When considering the conditions listed in this paragraph, the condition must persist
despite appropriate treatment and impair function to preclude satisfactory performance of
required military duties of the Service member’s office, grade, rank, or rating.

   b. Chronic or interstitial cystitis.

   c. Chronic incontinence, dysfunction, or urinary retention requiring catheterization.

    d. Cystoplasty, if reconstruction is unsatisfactory or if refractory symptomatic infections
persist.

   e. Ureterointestinal or direct cutaneous urinary diversion.

   f. Urethral abnormalities, if they:

       (1) Result in chronic incontinence;

       (2) Result in the persistent need for catheterization; or

       (3) Require a urethrostomy, if a satisfactory urethra cannot be restored.

   g. Ureteral abnormalities, including ureterocystostomy, if both ureters are markedly dilated
with irreversible changes, or if they result in:

       (1) Recurrent obstruction;

       (2) Kidney infection; or

       (3) Other chronic kidney dysfunction.

    h. Kidney transplant recipient(s). This condition is not compatible with retention and the
Service should initiate appropriate medical and personnel actions upon diagnosis. Paragraph
5.15.a. does not apply.

   i. Chronic or recurrent pyelonephritis with secondary hypertension or hypertensive end-
organ damage.

   j. Kidney abnormalities, including:


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       (1) Polycystic kidney disease;

       (2) Horseshoe kidney;

       (3) Hypoplasia of the kidney; or

       (4) Residuals of perirenal abscess when renal function is:

           (a) Impaired;

           (b) Associated with secondary hypertension or hypertensive end-organ damage; or

           (c) The focus of frequent infection.

   k. Hydronephrosis associated with significant systemic effects, renal impairment, secondary
hypertension, hypertensive end-organ damage, or frequent infections.

    l. Chronic kidney disease, stage 3A or worse, according to the Kidney Disease Improving
Global Outcomes Guidelines Standard, as reliably diagnosed by a nephrologist. Any level of
chronic kidney disease for which chronic immunosuppressant medications (e.g., medication for
steroid relapsing glomerulonephritis) are required. This condition is not compatible with
retention and the Service should initiate appropriate medical and personnel actions upon
diagnosis. Paragraph 5.15.a does not apply.

   m. Chronic nephritis or nephrotic syndrome. Service-specific criteria for proteinuria may
apply.

   n. Recurrent calculi that:

       (1) Result in recurring infections;

       (2) Result in obstructive uropathy unresponsive to medical or surgical treatment; or

        (3) Are symptomatic and occur with a frequency that prevents satisfactory performance
of duty.


5.16. SPINE AND SACROILIAC JOINT CONDITIONS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating. Conditions in this
paragraph do not meet retention standards if medical clearance cannot be given for safe
participation in Service-specific physical fitness testing.

    a. Spondyloarthritis. Chronic or recurring episodes of axial or peripheral arthritis that may
include extra-articular involvement that:




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       (1) Causes functional impairment interfering with successful performance of duty
supported by objective, subjective, and radiographic findings; or

        (2) Requires medication for control that needs frequent monitoring by a physician due to
debilitating or serious side effects including, but not limited to:

           (a) Ankylosing spondylitis;

           (b) Reactive arthritis;

           (c) Psoriatic arthritis; or

           (d) Arthritis associated with inflammatory bowel disease.

    b. Radicular or non-radicular pain involving the cervical, thoracic, lumbosacral, or coccygeal
spine, whether idiopathic or secondary to degenerative disc or joint disease.

   c. Kyphosis:

       (1) Resulting in greater than 50 degrees of curvature, if symptomatic, so as to limit the
wearing of military equipment; or

       (2) If recurrently symptomatic, regardless of the degree of curvature.

   d. Scoliosis:

      (1) Resulting in severe deformity—greater than 30 degrees of curvature—if
symptomatic, so as to limit the wearing of military equipment; or

       (2) If recurrently symptomatic, regardless of the degree of curvature.

   e. Congenital or surgical fusion or disc replacement.

  f. Vertebral fractures after radiographic evidence of complete healing and experiencing
moderate or severe symptoms that result in repeated acute medical visits.

   g. Spina bifida with demonstrable signs and moderate symptoms of root or cord
involvement.

    h. Spondylolysis or spondylolisthesis with moderate or severe symptoms resulting in
repeated acute medical visits.


5.17. UPPER EXTREMITY CONDITIONS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating. Conditions in this



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paragraph do not meet retention standards if medical clearance cannot be given for safe
participation in Service-specific physical fitness testing.

   a. Limitation of joint motion.

   b. Amputation of any part of hand and fingers.

   c. Intrinsic paralysis or weakness of upper limbs when symptoms are severe and persistent.


5.18. LOWER EXTREMITY CONDITIONS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function so as to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating. Conditions in this paragraph do not
meet retention standards if medical clearance cannot be given for safe participation in Service-
specific physical fitness testing.

   a. Limitation of joint motion.

   b. Foot and ankle conditions that include:

       (1) Amputation of any part of the foot or toes.

        (2) Conditions of the foot or toes that prevent the satisfactory performance of required
military duty or the wearing of required military footwear, such as:

           (a) Deformity of the toes;

           (b) Clubfoot;

           (c) Rigid pes planus;

           (d) Recurrent plantar fasciitis; or

           (e) Symptomatic neuroma.

   c. Chronic foot, leg, knee, thigh, and hip conditions, such as:

       (1) Chronic anterior knee pain;

       (2) Instability after knee ligament reconstruction; or

       (3) Recurrent stress fracture.

   d. Coxa vara to such a degree that it results in chronic pain.




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5.19. GENERALIZED CONDITIONS OF THE MUSCULOSKELETAL SYSTEM.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function so as to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating. Conditions in this paragraph do not
meet retention standards if medical clearance cannot be given for safe participation in Service-
specific physical fitness testing.

   a. Persistent symptoms after any dislocation, subluxation, or instability of the hip, knee,
ankle, subtalar joint, foot, shoulder, hand, wrist, or elbow.

   b. Osteoarthritis or infectious arthritis with severe symptoms or traumatic arthritis.

    c. Malunion, non-union, or hypertrophic ossification with persistent severe deformity or loss
of function.

   d. Prosthetic replacement of any joints, if there is resultant loss of function or persistent pain.

   e. History of neuromuscular paralysis, weakness, contracture, or atrophy that is not
completely resolved.

    f. Osteopenia, osteoporosis, or osteomalacia resulting in fracture with residual symptoms
after therapy.

   g. Recurrent episodes of chronic osteomyelitis that:

       (1) Are not responsive to treatment; or

       (2) Involve the bone to a degree that interferes with stability and function.

   h. Osteonecrosis, to include avascular necrosis of bone.

   i. Chronic tendonitis, tenosynovitis, or tendinopathy.

   j. Osteitis deformans (i.e., Paget’s disease) that involve single or multiple bones and result in
deformities or symptoms that severely interfere with function.

   k. Chronic mechanical low back pain.


5.20. VASCULAR SYSTEM.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function so as to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating.

   a. Abnormalities of the arteries including, but not limited to, aneurysms, arteriovenous
malformations, or arteritis.



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   b. Peripheral artery disease including claudication and renal artery stenosis.

   c. Hypertensive cardiovascular disease and hypertensive vascular disease.

       (1) Essential hypertension that:

           (a) Is not controlled despite an adequate period of therapy in an ambulatory status;

           (b) Is associated with end organ damage; or

         (c) Requires a treatment regimen that is not compatible with an operational
environment.

       (2) Secondary hypertension, unless the underlying cause has been treated with
subsequent control of blood pressure.

   d. Persistent peripheral vascular disease.

   e. Venous disease that, despite appropriate treatment, results in:

       (1) Persistent duty limitations.

       (2) Limitations in the wearing of the military uniform.

    f. Deep vein thrombosis (recurrent or a single episode), if anticoagulation medications, other
than aspirin, are clinically indicated for longer than 12 months.

   g. Surgery of the vascular system with persistent duty limitations.

   h. Thoracic Outlet Syndrome including:

       (1) Thoracic Outlet Syndrome—either neurogenic, arterial, or venous:

           (a) With symptoms that are not controlled, despite an adequate period of therapy and
surgery;

           (b) That is associated with end organ damage, or

           (c) That requires anticoagulation medication other than aspirin.

       (2) Venous Thoracic Outlet Syndrome that required venous reconstruction with a stent or
open surgery.

        (3) Arterial Thoracic Outlet Syndrome that required arterial reconstruction with a bypass
or interposition graft.

   i. Popliteal Entrapment Syndrome:




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         (1) With symptoms that are not controlled despite an adequate period of therapy and
surgery, is associated with end organ damage, or requires anticoagulation medication other than
aspirin.

       (2) That required arterial reconstruction with a bypass or interposition graft.


5.21. SKIN AND SOFT TISSUE CONDITIONS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function so as to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating. Conditions in this paragraph do not
meet standard if the Service member cannot properly wear the required military uniform or
equipment.

   a. Skin or soft tissue conditions, such as:

       (1) Severe nodulocystic acne;

       (2) Hidradenitis suppurativa;

       (3) Inflammatory or scarring scalp disorders;

      (4) Bullous dermatoses (including, but not limited to, dermatitis herpetiformis,
emphigus, and epidermolysis bullosa);

       (5) Lichen planus; or

       (6) Panniculitis that prevents the proper wearing required military uniform or equipment.

   b. Severe atopic dermatitis that prevents the proper wearing of required military uniform or
equipment.

   c. Any dermatitis, including eczematous or exfoliative, that prevents the proper wearing of
required military uniform or equipment.

   d. Persistent or recurrent symptomatic cysts, including pilonidal cysts or furunculosis, that
prevent the proper wearing of required military uniform or equipment.

   e. Chronic or current lymphedema.

   f. Severe hyperhidrosis.

   g. Scars or keloids that:

       (1) Prevent the proper wearing of required military uniform or equipment; or

       (2) Interfere with the function of an extremity or body area, including by limiting range
of motion or causing chronic pain.


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   h. Neurofibromatosis, other than cutaneous neurofibromas.

   i. Psoriasis or parapsoriasis that is uncontrolled or requires:

       (1) Systemic immunomodulating;

       (2) Immunosuppressant medications; or

       (3) Ultraviolet light therapy.

   j. Scleroderma that seriously interferes with the function of an extremity or body area.

    k. Chronic urticaria or angioedema that is not responsive to treatment or requires duty
limitations despite appropriate treatment.

   l. Intractable symptomatic plantar keratosis.

   m. Intractable superficial or deep fungal infections.

   n. Malignant neoplasms (refer to Paragraph 5.29 for malignancies):

       (1) Including melanoma, melanoma in situ, and cutaneous lymphoma (mycosis
fungoides).

       (2) Not including basal cell and squamous cell carcinomas.

   o. Any photosensitive dermatosis, including, but not limited to:

       (1) Cutaneous lupus erythematosus;

       (2) Dermatomyositis;

       (3) Polymorphous light eruption; or

       (4) Solar urticaria.

   p. Severe or chronic erythema multiforme.

   q. Chronic, non-healing ulcers of the skin.


5.22. BLOOD AND BLOOD FORMING CONDITIONS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function so as to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating.

   a. Anemia, hereditary or acquired, when:




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       (1) Response to therapy is unsatisfactory; or

       (2) Therapy requires prolonged, intensive, medical supervision or intervention.

   b. Hypercoagulable disease associated with vascular thrombosis when anticoagulation
medication of any type (except aspirin) is clinically indicated for longer than 12 months.

   c. Bleeding disorders including, but not limited to:

       (1) Hemophilia or other clinically significant factor deficiencies;

       (2) Thrombocytopenia with persistent platelet count less than 50,000;

       (3) Clinically significant Von Willebrand disease; or

       (4) Platelet function disorders.

   d. Chronic leukopenia:

       (1) If therapy is clinically indicated due to a malignant process; or

       (2) Where therapy is indicated for longer than 12 months.

   e. Primary Polycythemia Vera, Essential Thrombocytosis, or Chronic Myelogenous
Leukemia, if therapy beyond aspirin is clinically indicated.

   f. Chronic and clinically significant splenomegaly.

   g. Chronic or recurrent symptomatic hemolytic crisis.


5.23. SYSTEMIC CONDITIONS.

    a. When considering the conditions listed in this paragraph, the condition must persist
despite appropriate treatment and impair function so as to preclude satisfactory performance of
required military duties of the member’s office, grade, rank, or rating. Conditions listed in this
paragraph do not meet medical retention standards if they require medication for control with
frequent monitoring by a medical provider due to potential debilitating or serious side effects.

    b. Disorders involving the immune system, including immunodeficiencies with progressive
clinical illness.

        (1) A Service member with laboratory evidence of Human Immunodeficiency Virus
infection will be referred for appropriate treatment and a medical evaluation of fitness for
continued service in the same manner as a Service member with other chronic or progressive
illnesses, including evaluation on a case-by-case basis. Covered personnel will not be
discharged or separated solely on the basis of their HIV-positive status.




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       (2) Primary immunodeficiencies—including, but not limited to,
hypogammaglobulinemia, common variable immune deficiency, or complement deficiency—
with objective evidence of function deficiency and severe symptoms that are not controlled with
treatment, or when injectable medications are clinically indicated.

    c. Tuberculosis (pulmonary or extra pulmonary) with clinically significant sequelae
following treatment, if:

       (1) Resistant to treatment; or

       (2) The condition is of such severity that the individual is not expected to return to full
duty despite appropriate treatment.

   d. Severe chronic complications of sexually transmitted diseases including neurosyphilis.

   e. Recurrent anaphylaxis, if:

       (1) Immunotherapy is not sufficient in reducing the risk;

       (2) Avoidance of the trigger results in long-term duty limitations; or

       (3) The individual is not expected to return to duty.

   f. Chronic, severe, urticarial, or histaminergic angioedema.

    g. Hereditary angioedema. This condition is not compatible with retention and the Service
should initiate appropriate medical and personnel actions upon diagnosis. Paragraph 5.23.a does
not apply.

    h. Recurrent rhabdomyolysis, a single episode of idiopathic rhabdomyolysis, or a single
episode of rhabdomyolysis that is associated with underlying metabolic or endocrine
abnormalities.

    i. Severe motion sickness. If due to an underlying disorder, process via the relevant
standard. Otherwise, it may require processing through Service specific separation guidance.

   j. Sarcoidosis, eosinophilic granuloma, or amyloidosis progressive with severe or multiple
organ involvement.

   k. Infections (superficial, local, or systemic) that are not responsive to appropriate treatment.


5.24. ENDOCRINE AND METABOLIC CONDITIONS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating.

   a. Adrenal dysfunction, including Addison’s disease or Cushing’s disease.


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    b. Diabetes mellitus, unless hemoglobin A1c can be maintained at less than eight percent
using only lifestyle modifications (e.g., diet and exercise) or with the following medications
(alone or in combination):

       (1) Metformin;

       (2) Dipeptidyl peptidase 4 inhibitors; or

       (3) Glucagon-like peptide-1 receptor agonists.

   c. Pituitary dysfunction or mass effect from pituitary tumor.

   d. Diabetes insipidus, after treatment and resolution of an underlying etiology.

   e. Hyperparathyroidism, when residuals or complications are present.

   f. Hypoparathyroidism, when severe, persistent, and difficult to manage.

   g. Goiter, if mass effect.

    h. Persistent, symptomatic, hypothyroidism or hyperthyroidism that is not responsive to
therapy.

    i. Persistent metabolic bone disease—including, but not limited to, osteoporosis, Paget’s
disease, and osteomalacia—if:

       (1) Associated with pathological fractures; or

       (2) The condition prevents the wearing of military equipment.

   j. Osteogenesis imperfecta.

   k. Hypogonadism with medically required injectable hormone replacement.

   l. Hypoglycemia when caused by an insulinoma or other hypoglycemia-inducing tumor.

   m. Gout with frequent acute exacerbations or severe bone, joint, or kidney damage.

   n. Endocrine hyperfunctioning syndromes including, but not limited to:

       (1) Multiple endocrine neoplasia;

       (2) Pheochromocytoma;

       (3) Salt-wasting congenital adrenal hyperplasia;

       (4) Carcinoid syndrome; or

       (5) Endocrine tumors of the gastrointestinal tract.


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5.25. RHEUMATOLOGIC CONDITIONS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function so as to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating. Conditions listed in this paragraph
do not meet medical retention standards if the condition requires geographic limitations to
protect the individual from infectious disease risk or due to limited monitoring capabilities, is
associated with adverse effects from medication, or if medical clearance cannot be given for safe
participation in Service-specific physical fitness testing.

   a. Systemic lupus erythematosus.

   b. Mixed connective tissue disease.

   c. Progressive systemic sclerosis, including:

       (1) Calcinosis;

       (2) Raynaud’s phenomenon;

       (3) Esophageal dysmotility;

       (4) Scleroderma; or

       (5) Telangiectasia syndrome.

   d. Rheumatoid arthritis.

   e. Sjögren’s syndrome.

   f. Chronic autoimmune vasculitides or autoimmune diseases including, but not limited to:

       (1) Polyarteritis nodosa.

       (2) Behçet’s disease.

       (3) Takayasu’s arteritis.

       (4) Giant cell arteritis.

       (5) Anti-neutrophil cytoplasmic antibody associated vasculitis.

       (6) IgG-4 disease.

       (7) Henoch-Schonlein Purpura.

   g. Myopathy or polymyositis.

   h. Fibromyalgia or myofascial pain syndrome.


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    i. Connective tissue disorders if associated with cardiac manifestations or limitations from
recurrent musculoskeletal dysfunction.


5.26. NEUROLOGIC CONDITIONS.

   a. When considering the conditions listed in this paragraph, the condition must persist
despite appropriate treatment and impair function so as to preclude satisfactory performance of
required military duties of the member’s office, grade, rank, or rating.

   b. Cerebrovascular conditions including, but not limited to:

       (1) Subarachnoid or intracerebral hemorrhage;

       (2) Vascular stenosis;

       (3) Stroke;

       (4) Aneurysm;

       (5) Arteriovenous malformation; or

        (6) Recurrent transient ischemic attack unless underlying etiology is identified and
definitively treated.

    c. Anomalies of the central nervous system or meninges with persistent sequelae including,
but not limited to:

       (1) Pain.

       (2) Significant sensory or motor impairment.

       (3) Severe headaches.

       (4) Seizures.

       (5) Alteration of consciousness, personality, or mental function.

   d. Permanent or progressive cognitive impairment due to Alzheimer’s disease or other
dementias. This condition is not compatible with retention and the Service should initiate
appropriate medical and personnel actions upon diagnosis. Paragraph 5.26.a does not apply.

   e. Neuromuscular disorders and muscular dystrophy including, but not limited to:

       (1) Facioscapulohumeral muscular dystrophy.

       (2) Limb girdle dystrophy.

       (3) Myotonic dystrophy.


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    f. Chronic or recurrent demyelinating processes (e.g., multiple sclerosis, transverse myelitis,
or recurrent optic myelitis).

    g. Migraine, tension, or cluster headaches, when manifested by frequent incapacitating
attacks.

   h. Traumatic brain injury associated with persistent sequelae including, but not limited to:

       (1) Pain.

       (2) Significant sensory, cognitive, or motor impairment.

       (3) Severe headaches.

       (4) Seizures.

       (5) Alteration of consciousness, personality, or mental function.

   i. Peripheral neuropathy or paralytic disorders resulting in permanent functional impairment.

    j. Provoked seizures, if recurrent more than 6 months after the Service member begins
treatment and the effects of medication:

       (1) Prohibit satisfactory performance of duty;

       (2) Require significant follow-up; or

       (3) Require modifications to reduce psychological stressors or enhance safety.

   k. Epilepsy. This condition is not compatible with retention and the Service should initiate
appropriate medical and personnel actions upon diagnosis. Paragraph 5.26.a does not apply.

   l. Myasthenia gravis, unless only involving extraocular muscles.

   m. Tremor, tic disorders, or dystonia (e.g., Tourette’s Syndrome) with significant functional
impairment.

   n. Recurrent, neurogenic, or unexplained syncope or near syncope that interferes with duty.


5.27. SLEEP DISORDERS.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function so as to preclude satisfactory performance of required
military duties of the member’s office, grade, rank, or rating.

    a. Clinical sleep disorders—including circadian rhythm disorders, insomnia, narcolepsy,
cataplexy, or other hypersomnia disorders—that cause sleep disruption resulting in excessive
daytime somnolence or other impacts on duty such as:


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       (1) Mood disturbance;

       (2) Irritability; or

      (3) Chronic use of prescription medication to promote sleep or maintain daytime
wakefulness.

   b. Obstructive sleep apnea, of any severity:

        (1) With continued symptoms despite treatment with positive airway pressure machines
or oral positional devices; or

      (2) That requires supplemental oxygen or any chronic medication to maintain
wakefulness.

   c. Sleep-related movement disorder that causes sleep disruption resulting in excessive
daytime somnolence or other impacts on duty, such as:

       (1) Mood disturbance;

       (2) Irritability; or

      (3) Chronic use of prescription medication to promote sleep or maintain daytime
wakefulness.


5.28. BEHAVIORAL HEALTH.

The following conditions, defined using the fifth edition of the Diagnostic and Statistical Manual
of Mental Disorders, unless otherwise stated, are not compatible with retention and the Service
should initiate appropriate medical and personnel actions upon diagnosis.

    a. Schizophrenia, delusional disorder, schizophreniform disorder, schizoaffective disorder,
and brief psychotic disorder. Substance- or medication–induced psychotic disorder and
psychotic disorder(s) due to another medical condition should be considered on a case-by-case
basis.

   b. Bipolar I disorder.

     c. Other bipolar spectrum disorders—including bipolar II disorder, cyclothymic disorder,
substance- or medication–induced bipolar disorder—will be considered on a case-by-case basis
if, despite appropriate treatment, they:

        (1) Require persistent duty modifications to reduce psychological stressors or enhance
safety; or

        (2) Impair function so as to preclude satisfactory performance of required military duties
of the member’s office, grade, rank, or rating.



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     d. Other behavioral health conditions, defined using the fifth edition of the Diagnostic and
Statistical Manual of Mental Disorders—including, but not limited to, anxiety disorders,
depressive disorders, or eating or feeding disorders—will be considered on a case-by-case basis
if, despite appropriate treatment, they:

        (1) Require persistent duty modifications to reduce psychological stressors or enhance
safety; or

        (2) Impair function so as to preclude satisfactory performance of required military duties
of the member’s office, grade, rank, or rating.

    e. Per Paragraph 3.3, disqualifying behavioral health conditions should either be referred to
the DES or processed for administrative separation, based on whichever is appropriate for that
condition.


5.29. TUMORS AND MALIGNANCIES.

When considering the conditions listed in this paragraph, the condition must persist despite
appropriate treatment and impair function to preclude satisfactory performance of required
military duties of the Service member’s office, grade, rank, or rating.

    a. All malignancies will be evaluated for potential recurrence and need for medical
surveillance that could require permanent duty limitations, in accordance with Military
Department regulations.

    b. Malignant neoplasms that are not responsive to therapy or have residuals of treatment that
limit satisfactory performance of duty.

   c. Benign tumors with mass effect or that interfere with the wearing of military equipment.


5.30. MISCELLANEOUS CONDITIONS.

Conditions listed in this paragraph do not meet medical retention standards if they require
medication for control with frequent monitoring by a medical provider due to potential
debilitating or serious side effects or geographic limitations to protect the individual from
infectious disease risk.

   a. Porphyria.

   b. Cold-related disorders or injuries with sequelae.

    c. Organ or tissue transplantation for which long-term immunosuppressant therapy is
clinically indicated.

   d. History of heatstroke or heat injury.




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       (1) Three or more episodes of heat exhaustion or heat injury within 24 months. A single
episode of heat injury with severe complications (e.g., compartment syndrome) that affects
successful performance of duty or persistent end organ effects.

        (2) Heat stroke, when symptoms fail to resolve or when sequelae pose significant risks
for future operations.

   e. Any chronic condition that requires immunomodulating or immunosuppressant
medications.

   f. Any chronic pain condition that requires chronic controlled medications listed under
Controlled Substance Schedules 2-4, pursuant to Title 21, United States Code.

   g. Chronic complications or effects of surgery that:

       (1) Present a significant risk of infection;

       (2) Result in duty limitations; or

       (3) Require frequent specialty care resulting in an unreasonable requirement on mission
execution.

    h. Any persistent condition that requires geographic limitations to the member for
assignment, temporary duty, or deployment to protect the individual from infectious disease risk,
due to limited monitoring capabilities or other reasons.




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                                         GLOSSARY

G.1. ACRONYMS.

 ACRONYM               MEANING

 ASD(HA)               Assistant Secretary of Defense for Health Affairs

 DASD(HSP&O)           Deputy Assistant Secretary of Defense for Health Services Policy and
                       Oversight
 DASD(MPP)             Deputy Assistant Secretary of Defense for Military Personnel Policy
 DES                   Disability Evaluation System
 DHA                   Defense Health Agency
 DoDI                  DoD instruction

 FEV1                  forced expiratory volume in one second

 MEDPERS               Medical and Personnel Executive Steering Committee
 MHS                   Military Health System

 USD(P&R)              Under Secretary of Defense for Personnel and Readiness
 USCG                  United States Coast Guard

 RMSWG                 Retention Medical Standards Working Group


G.2. DEFINITIONS.

Unless otherwise noted, these terms and their definitions are for the purpose of this volume.

 TERM                     DEFINITION

 covered personnel        Individuals who have been identified as HIV-positive, are
                          asymptomatic, and who have a clinically confirmed undetectable
                          viral load.


 garrison conditions      Defined in DoDI 6465.03


 heat exhaustion          A syndrome of hyperthermia (core temperature at time of event
                          usually ≤40oC or 104oF) with physical collapse or debilitation
                          occurring during or immediately following exertion in the heat, with
                          no more than minor central nervous system dysfunction (e.g.,
                          headache or dizziness).



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heat injury            Heat exhaustion with clinical evidence of organ or muscle damage
                       without sufficient neurological symptoms to be diagnosed as heat
                       stroke.


heat stroke            A syndrome of hyperthermia (core temperature at time of event
                       usually ≥40oC or 104oF), physical collapse or debilitation, and
                       encephalopathy as evidenced by delirium, stupor, or coma, occurring
                       during or immediately following exertion or significant heat
                       exposure. It can be complicated by organ or tissue damage, systemic
                       inflammatory activation, and disseminated intravascular coagulation.


medical condition      Any disease or residual of an injury that results in a lessening or
                       weakening of the capacity of the body or its parts to perform
                       normally, according to accepted medical principles.


medically required     A medically necessary health care treatment or supply for which
                       there is no medically appropriate substitute that can meet operational
                       requirements.


office, grade, rank,   Defined in DoDI 1332.18.
or rating


operational            Defined in DoD Manual 6025.13.
healthcare unit


persistent             Twelve months, or less if reasonably anticipated to exceed 12
                       months.


trial of duty          Service-defined assessment of a Service member’s ability to perform
                       the duties of their office, grade, rank, or rating, considering their
                       physical and psychological demands and tasks, medical history, and
                       prognosis.




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   2006
Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition
DoD Directive 5124.02, “Under Secretary of Defense for Personnel and Readiness
   (USD(P&R)),” June 23, 2008
DoD Instruction 1300.28, “Military Service By Transgender Persons And Persons With Gender
   Dysphoria”, September, 4, 2020
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DoD Instruction 1332.18, “Disability Evaluation System (DES),” August 5, 2014, as amended
DoD Instruction 1332.30, “Commissioned Officer Administrative Separations,” May 11, 2018,
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DoD Instruction 1332.45, “Retention Determinations For Non-Deployable Service Members,”
   July 30, 2018
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   Positive Personnel within the Armed Forces,” June 6, 2022
United States Code, Title 21




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